         Case 2:12-cr-00207-TLN Document 82 Filed 04/05/13 Page 1 of 2


1 Donald E.J. Kilmer, Jr., (SBN: 179986)
  LAW OFFICES OF DONALD KILMER
2 A Professional Corporation
  1645 Willow Street, Suite 150
3 San Jose, California 95125
  Telephone: (408) 264-8489
4 Facsimile: (408) 264-8487
  E-Mail: Don@DKLawOffice.com
5
  Attorney for Defendant:
6 ULYSSES SIMPSON GRANT EARLY

7

8
                                   UNITED STATES DISTRICT COURT
9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                          CASE NO.: 2:12-CR-00207 TLN

12                              Plaintiff,            DEFENDANT EARLY’S WAIVER OF
                                                      APPEARANCE AT PRE-TRIAL
13                                                    MOTION TO COMPEL DISCOVERY
                              v.
14                                                    STIPULATION AND ORDER
   RYAN McGOWAN, ROBERT
15 SNELLING, ULYSSES SIMPSON
   GRANT EARLY IV, and THOMAS
16 LU,

17
                                Defendants.
18

19

20              The defendant, by and through counsel of record, and plaintiffs by and

21      through its counsel, stipulate as follows:

22      1.      Defendant’s Motion to Compel Discovery is set for hearing on April 9, 2013

23              before the Honorable Edmund F. Brennan at 2:00 p.m.

24      2.      The parties agree that Defendant EARLY’s appearance may be waived for

25              this pre-trial motion at the election of the Defendant.

26      IT IS SO STIPULATED.

27      /////

28      /////


     Early: Waiver Appearance Pre-Trial Motion   Page 1 of 2                 U.S. v. McGowan
         Case 2:12-cr-00207-TLN Document 82 Filed 04/05/13 Page 2 of 2


1       Date: April 2, 2013

2       BENJAMIN B. WAGNER
        United States Attorney
3
        /s/ William S. Wong
4       WILLIAM S. WONG
        MICHAEL D. ANDERSON
5       Assistant United States Attorneys

6       Date: April 2, 2013

7       /s/ Donald Kilmer
        DONALD KILMER
8       Counsel for Defendant EARLY

9

10                                                ORDER

11              IT IS SO ORDERED.

12      Dated: April 5, 2013.

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     Early: Waiver Appearance Pre-Trial Motion   Page 2 of 2             U.S. v. McGowan
